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			Home » Hawaii Appellate Court Opinions and Orders » Opinions 
		
					
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					Opinions			 
			
			For 2009 and older, Case Number link will display content as an html page. PDF link will display a scanned image with file date stamp and judicial signatures. Beginning in 2010, Case Number link will display a scanned image with file date stamp and judicial signatures. ADA link will display an accessible file compatible with online reader devices. Click here to view Opinions and Orders from 1998 to 2009.
						
			
						
				
				
				
			
    		
				
					
						
							Date
							Ct.
							Case Number
							Case Name
							Appealed From
							Reporter Citation
						
					
					
												
							June 27, 2019
							S.Ct
							SCAP-XX-XXXXXXX [ADA]
							Civil Beat Law Center for the Public Interest, Inc. v. City and County of Honolulu (Amended Opinion of the Court by Recktenwald, C.J.).&nbsp;S.Ct. Opinion, filed 06/26/2019.

							Circuit Court, 1st Circuit
							
						
												
							June 27, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Wilborn (Order Dismissing Appeal for Lack of Appellate Jurisdiction).

							Circuit Court, 1st Circuit
							
						
												
							June 27, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Victoria Ward Center, L.L.C. v. Gold Guys Holdings, LLC (mem. op., affirmed, vacated, and remanded). Consolidated with Case Nos. CAAP-XX-XXXXXXX and CAAP-XX-XXXXXXX.

							Circuit Court, 1st Circuit
							
						
												
							June 27, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Libero v. State (s.d.o., affirmed).

							Circuit Court, 2nd Circuit
							
						
												
							June 27, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Bright (s.d.o., affirmed).

							Family Court, 5th Circuit
							
						
												
							June 27, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Jones (mem. op., affirmed, vacated, and remanded). Consolidated with Case No. CAAP-XX-XXXXXXX.

							Circuit Court, 1st Circuit
							
						
												
							June 27, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Phan (s.d.o., affirmed).

							Family Court, 2nd Circuit
							
						
												
							June 26, 2019
							S.Ct
							SCAD-XX-XXXXXXX [ADA]
							Office of Disciplinary Counsel v. Richards (Order of Disbarment). S.Ct.&nbsp;Order Granting Petition, filed 01/18/2018 [ada].

							Original Proceeding
							
						
												
							June 26, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Glenn (Order Accepting Application for Writ of Certiorari). ICA&nbsp;s.d.o., filed 02/21/2019 [ada], 144 Haw. 62.&nbsp;Application for Writ of Certiorari, filed 05/21/2019.

							Circuit Court, 1st Circuit
							
						
												
							June 26, 2019
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Grandinetti v. State (Order). Petition for Writ of Mandamus, filed 06/12/2019.

							Original Proceeding
							
						
												
							June 26, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Wells Fargo Bank, N.A. v. Cole (Order Rejecting Application for&nbsp;Writ of Certiorari). ICA&nbsp;s.d.o., filed 01/29/2019 [ada], 144 Haw. 6. Application for&nbsp;Writ of Certiorari, filed 04/26/2019.

							Circuit Court, 3rd Circuit
							
						
												
							June 26, 2019
							S.Ct
							SCAP-XX-XXXXXXX [ADA]
							Civil Beat Law Center for the Public Interest, Inc. v. City and County of Honolulu. S.Ct.&nbsp;Amended Opinion of the Court by Recktenwald, C.J., filed 06/27/2019 [ada].

							Circuit Court, 1st Circuit
							
						
												
							June 26, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Ventures Trust 2013-I-H-R by MCM Capital Partners, LLC v. Laurin (s.d.o., affirmed). Consolidated with Case No. CAAP-XX-XXXXXXX.

							Circuit Court, 2nd Circuit
							
						
												
							June 25, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Karagianes v. State (Order Dismissing Application for&nbsp;Writ of Certiorari).&nbsp;&nbsp;ICA s.d.o., filed 02/28/2019 [ada], 144 Haw. 68.&nbsp; Application for&nbsp;Writ of Certiorari, filed 06/03/2019.&nbsp;

							Circuit Court, 2nd Circuit
							
						
												
							June 25, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Cantere (Order Dismissing Appeal for Lack of Appellate Jurisdiction).

							Circuit Court, 1st Circuit
							
						
												
							June 25, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Armitage (Order Dismissing Appeal for Lack of Appellate Jurisdiction).

							Family Court, 5th Circuit
							
						
												
							June 24, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Taylor v. De Lima (s.d.o., vacated and remanded).

							Circuit Court, 3rd Circuit
							
						
												
							June 21, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Wilmington Savings Fund Society v. Akehi (s.d.o., vacated and remanded).

							Circuit Court, 1st Circuit
							
						
												
							June 21, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Ruben (mem. op., vacated and remanded).

							Circuit Court, 1st Circuit
							
						
												
							June 21, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							JPMorgan Chase Bank v. Kawelo (s.d.o., affirmed).

							Circuit Court, 1st Circuit
							
						
												
							June 21, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Kahookele (s.d.o., affirmed).

							District Court, 2nd Circuit
							
						
												
							June 21, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Shen v. Chiu (s.d.o., affirmed).

							District Court, 1st Circuit
							
						
												
							June 20, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Goo (Order Rejecting Application for Writ of Certiorari). ICA s.d.o., filed 03/15/2019 [ada],&nbsp;144 Haw. 71. Application for Writ of Certiorari, filed 05/09/2019.

							District Court, 1st Circuit, Honolulu Division
							
						
												
							June 20, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Vicente v. Hilo Medical Investors, Ltd. (Order Denying “Motion to Reconsider”).&nbsp;ICA Order Dismissing Appeal for Lack of Appellate Jurisdiction, filed 04/26/2019 [ada].&nbsp;Application for&nbsp;Writ of Certiorari, filed 05/03/2019.&nbsp;S.Ct. Order Rejecting Application for Writ of Certiorari, filed 06/05/2019 [ada]. Motion for Reconsideration, filed 06/12/2019.

							Labor and Industrial Relations Appeals Board
							
						
												
							June 20, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Wilson.&nbsp;ICA Opinion, filed 01/26/2018 [ada],&nbsp;141 Haw. 459.&nbsp;Application for&nbsp;Writ of Certiorari, filed 04/27/2018.&nbsp;S.Ct. Order Accepting&nbsp;Application for&nbsp;Writ of Certiorari, filed 06/13/2018 [ada].&nbsp;

							District Court, 2nd Circuit
							
						
												
							June 20, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Bardin v. Planning Department of the County of Kauai (Order Granting Motion to Dismiss Appeal).

							Circuit Court, 5th Circuit
							
						
												
							June 20, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Estate Administrative Services LLC v. Mohulamu (Order Approving Stipulation to Dismiss Appeal).

							District Court, 1st Circuit, Honolulu Division
							
						
												
							June 20, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Alejo v. Aban (Order Approving Stipulation to Dismiss Appeal).

							District Court, 2nd Circuit, Lahaina Division
							
						
												
							June 20, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Ponce v. Administrative Director of the Courts.

							District Court, 1st Circuit
							
						
												
							June 19, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Nakachi (s.d.o., vacated and remanded).

							Circuit Court, 1st Circuit
							
						
												
							June 19, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Gilroy (Order Dismissing Application for&nbsp;Writ of Certiorari). ICA Order Dismissing Appeal for Lack of Appellate Jurisdiction and Dismissing as Moot the January 22, 2019 Affidavit in Support of Motion to Proceed in Forma Pauperis, filed 01/31/2019 [ada].&nbsp;Application for&nbsp;Writ of Certiorari, filed 05/30/2019.&nbsp;

							Circuit Court, 3rd Circuit
							
						
												
							June 19, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Jones (s.d.o., affirmed).

							District Court, 1st Circuit, Honolulu Division
							
						
												
							June 18, 2019
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Poepoe v. Bissen (Order Denying Emergency Petition for Writ of Mandamus).&nbsp;Emergency Petition for Writ of Mandamus, filed 06/14/2019.

							Original Proceeding
							
						
												
							June 18, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Souza v. Fisher (Order Rejecting Application for&nbsp;Writ of Certiorari). ICA Order Granting in Part Motion to Dismiss Appeal, filed 03/08/2019 [ada]. Consolidated with Case No.&nbsp;CAAP-XX-XXXXXXX.&nbsp;Application for&nbsp;Writ of Certiorari, filed 05/07/2019.

							District Court, 1st Circuit, Honolulu Division
							
						
												
							June 18, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Pai (Order Dismissing Appeal for Lack of Appellate Jurisdiction).

							District Court, 3rd Circuit, North and South Kona Division
							
						
												
							June 18, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Pai (Order Dismissing Appeal for Lack of Appellate Jurisdiction).

							District Court, 3rd Circuit, North and South Kona Division
							
						
												
							June 18, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Carmichael v. Board of Land and Natural Resources (mem. op., vacated and remanded).

							Circuit Court, 1st Circuit
							
						
												
							June 18, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Limatoc-Deponte v. Cani (s.d.o., affirmed).

							District Court, 3rd Circuit, North and South Hilo Division
							
						
												
							June 17, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Abella (Amended Order Accepting Application for Writ of Certiorari).&nbsp;ICA Opinion, filed 03/22/2019 [ada], 144 Haw. 141. Application for Writ of Certiorari, filed 04/01/2019. S.Ct. Order Dismissing Application for Writ of Certiorari, filed 04/03/2019 [ada].&nbsp; Application for Writ of Certiorari, filed 05/09/2019.&nbsp;S.Ct. Order Accepting Application for Writ of Certiorari, filed 06/17/2019.

							Circuit Court, 1st Circuit
							
						
												
							June 17, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Abella (Order Accepting Application for Writ of Certiorari).&nbsp;ICA Opinion, filed 03/22/2019 [ada], 144 Haw. 141. Application for Writ of Certiorari, filed 04/01/2019. S.Ct. Order Dismissing Application for Writ of Certiorari, filed 04/03/2019 [ada].&nbsp; Application for Writ of Certiorari, filed 05/09/2019.&nbsp;S.Ct. Amended Order Accepting Application for Writ of Certiorari, filed 06/17/2019 [ada].

							Circuit Court, 1st Circuit
							
						
												
							June 17, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Palama (Order Dismissing Appeal for Lack of Appellate Jurisdiction).

							District Court, 5th Circuit
							
						
												
							June 17, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Bayview Loan Servicing, LLC v. Woods (Order Approving Stipulation for Dismissal of Appeal).

							Circuit Court, 5th Circuit
							
						
												
							June 14, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Free Church of Tonga-Kona v. Ekalesia Hoole Pope O Kekaha (Order Dismissing Appeal).

							District Court, 3rd Circuit, North and South Kona Division
							
						
												
							June 14, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Free Church of Tonga-Kona v. Ekalesia Hoole Pope O Kekaha (Order Dismissing Appeal).

							District Court, 3rd Circuit, North and South Kona Division
							
						
												
							June 14, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Free Church of Tonga-Kona v. Ekalesia Hoole Pope O Kekaha (Order Dismissing Appeal).

							District Court, 3rd Circuit, North and South Kona Division
							
						
												
							June 14, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Free Church of Tonga-Kona v. Ekalesia Hoole Pope O Kekaha (Order Dismissing Appeal).

							District Court, 3rd Circuit, North and South Kona Division
							
						
												
							June 14, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Free Church of Tonga-Kona v. Ekalesia Hoole Pope O Kekaha (Order Dismissing Appeal).

							District Court, 3rd Circuit, North and South Kona Division
							
						
												
							June 14, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Banks (Order Dismissing Appeal).

							District Court, 3rd Circuit, Puna Division
							
						
												
							June 14, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Free Church of Tonga-Kona v. Ekalesia Hoole Pope O Kekaha (Order Dismissing Appeal).

							District Court, 3rd Circuit, North and South Kona Division
							
						
												
							June 14, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Gomes (Order Dismissing Appeal).

							Circuit Court, 5th Circuit
							
						
											
				
			
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